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                       Exhibit B
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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


      Mahmoud KHALIL,
                    Petitioner,
      v.
                                                                  Case No. 25-cv-01963
      Donald J. TRUMP, in his official capacity as
                                                                  (MEF-MAH)
      President of the United States; William P.
      JOYCE, in his official capacity as Acting
                                                                  DECLARATION OF
      Field Office Director of New York,
                                                                  NOOR RAMEZ
      Immigration and Customs Enforcement;
                                                                  ABDALLA
      Yolanda PITTMAN, in her official capacity as
      Warden of Elizabeth Contract Detention
      Facility; Caleb VITELLO, Acting Director,
      U.S. Immigration and Customs Enforcement;
      Kristi NOEM, in her official capacity as
      Secretary of the United States Department of
      Homeland Security; Marco RUBIO, in his
      official capacity as Secretary of State; and Pamela
      BONDI, in her official capacity as Attorney
      General, U.S. Department of Justice,

                    Respondents.

       I, Noor Ramez Abdalla, declare under penalty of perjury, pursuant to 28 U.S.C.
 § 1746, that the following is true and correct to the best of my knowledge.
 1. I am a United States citizen, and Mahmoud Khalil’s wife.
 2.    I previously submitted a declaration in support of Mahmoud’s motion for release
       (ECF No. 55) about our relationship and the impact of his arrest and detention on
       my pregnancy. I also submitted a declaration in Mahmoud’s immigration
       proceedings, in support of his motion to terminate, which I understand was
       subsequently submitted to this Court as part of ECF 212-1.
 3. On April 21, 2025, I gave birth to my and Mahmoud’s first child, our son Deen.
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 4. The end of my pregnancy and labor was extremely stressful because I was separated
    from Mahmoud due to his ongoing detention.
 5.   After Mahmoud was arrested and before I gave birth, many people posted awful
      statements online, including death threats, about Mahmoud, myself, and our baby.
      I saw these whenever I would read an article or social media post about our situation,
      and became afraid for our safety. The posts often focused on the false accusations
      of Mahmoud being antisemitic, the fact that I wear a hijab, and the fact that we are
      Muslim. Because of the baseless allegations against Mahmoud, we have become an
      easy target for hateful people who want to harm my family, wished I would miscarry,
      or that someone should take our baby away from us. There were so many comments
      like this that I was honestly shocked – both at the amount and at the hatred and
      bigotry included in them.
 6.   Those comments impacted me negatively, even though I made efforts to not read
      them. I was constantly stressed, which is not good for a baby. I did not leave the
      house as much as I would before Mahmoud's arrest and detention because I was
      scared someone would try to hurt me because I am Mahmoud’s wife. I did not want
      to be recognized.
 7. When I first went into labor, I had no family with me. I felt alone and I was scared.
    My mother thankfully was able to come to New York a few hours after I went into
    labor.
 8. When I first got to hospital, I was told my water broke and they admitted me. I was
    overwhelmed and started having a panic attack. I couldn’t stop crying. I was
    devastated that Mahmoud was still detained instead of being by my side, as he and
    I wished. I was also extremely afraid for my safety at the hospital because so many
    people had threatened me and threatened to take our baby. The hospital admitted
    me under an alias and the hospital's security had to be instructed to only allow a pre-
    approved list of people into my room.
 9. Despite my fear and panic, at that moment, I was still hopeful that Mahmoud would
    be released in time to join me at the hospital. I spent the first hours of my labor
    coordinating with Mahmoud’s lawyers – something I never would have imagined
    having to do before all of this – to see if there was any possibility of him being
    released for our baby’s birth. It was not how I imagined giving birth; I thought
    Mahmoud and I would be welcoming our new baby boy into the world together.
 10. After being in labor for nearly ten hours, I learned from one of Mahmoud’s
      attorneys that ICE had denied Mahmoud’s request for furlough or temporary
      release, and that he would not be with me during the birth. I was utterly heartbroken.

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    I could not believe that I would have to give birth to our child without Mahmoud
    by my side.
 11. I was in labor for 24 hours. It was extremely difficult. After Deen arrived, though I
     was exhausted, I could not sleep.
 12. I didn’t sleep during the two nights I spent at the hospital after giving birth to my
    son because I was too worried that if my baby left my side, someone might take him
    away from me. I made my mother, who had flown in from out of state to be with
    me, accompany Deen to all of his newborn medical tests and declined the nurses’
    offers to look after him so that I could get some rest because I didn’t want my baby
    to leave the room. I didn’t want to take my eyes off of him.
 13. Mahmoud had to meet his newborn son, Deen, over a video call the morning after
     he was born. He could not call on video when Deen was first born in the middle of
     the night because the immigration jail does not allow video calls at night. It did not
     feel like a real meeting because it was only through a screen. This was not how he
     wanted to see his son for the first time. He should have been holding Deen, touching
     him, and kissing him.
 14. When I returned home from the hospital, it finally hit me that I would have to do
     everything – caring for a newborn, navigating the legal system, figuring out housing,
     work, finances – without Mahmoud’s presence at my side. I was completely
     overwhelmed and crying a lot. My mother was extremely concerned about me.
 15. Though I had immense support from family and friends in those early days, nothing
     could replace Mahmoud’s presence. Those are days our little family will never get
     back. Mahmoud will never be part of bringing our first baby home from the hospital,
     awkwardly carrying the baby carrier, and figuring out how to hold such a tiny baby,
     and all of the other fun, hard, and challenging parts of adjusting to having a
     newborn. This reality of all we have missed and will never get back is a weight that
     constantly sits on me.
 16. I am constantly aware of Mahmoud’s absence, not just because I miss him so deeply,
     but because taking care of a newborn alone is a lot of work. At first, I was in a lot
     of physical pain as I healed from giving birth, and I was distressed that Mahmoud
     was not there. Now, though I feel physically improved, the distress remains.
 17. Because of the immense stress I am under, it has been difficult to feed Deen without
    supplementing with formula. This has been a source of great sadness and
    disappointment for me.


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 18. On May 20th, Deen and I traveled more than ten hours to Louisiana to attend
    Mahmoud's immigration hearing with hopes that he could hold his son for the first
    time.
 19. However, I was told on the phone, before we arrived at the facility in Louisiana, that
    we could not have a contact visit. Numerous lawyers and this Court had to get
    involved as we sought an opportunity for Mahmoud, Deen, and I to be together in
    person, even if only for a legal meeting to be able to discuss his habeas corpus case
    in federal court. At one point, I didn’t think it was going to happen because we were
    constantly being told no. But, eventually, I was told that we had been granted a
    contact visit for the following morning.
 20. However, I did not want to wait to see my husband in person for the first time in 2
    ½ months. We had already been apart for too long. We had come all that way,
    Mahmoud was expecting us, and so Deen and I traveled nearly an hour to get to the
    detention facility. Mahmoud met Deen for the first time through a plate glass
    window. In order for Mahmoud to better see Deen and play with him, I had to lay
    Deen on the ledge in front of the plate glass window separating us from each other.
    It was an awful feeling for all of us. Mahmoud was right there, but he could not
    touch his son.
 21. Thankfully, the following day, we were able to meet in person, though we only had
     less than one hour. One of Mahmoud’s lawyers was with us. Certainly, it was not
     how I imagined Mahmoud would first meet his son.
 22. I was so happy that Mahmoud was able to see and hold Deen without a plate glass
     window separating them. However, even that moment was bittersweet because I
     had to teach Mahmoud how to hold and feed Deen – something Mahmoud would
     have already known how to do after 4 weeks of parenting an infant had he been
     home with us. It highlighted how much Mahmoud had missed over the past month
     because he has been detained and has not been allowed to get to know or take care
     of his child – the child both of us love so much, and who we both were so excited
     to bring into this world together.
 23. Attending the immigration hearing and listening to the expert witnesses and
     Mahmoud talk about all the ways he could be targeted or killed if he were to be
     deported as a result of the U.S. government's public and highly visible smearing of
     him was incredibly scary.
 24. Mahmoud’s case has impacted every aspect of our life. I have experienced
     Islamophobia my whole life as a Muslim woman who wears a hijab, but it has been
     amplified by Mahmoud’s detention and ongoing case. Mahmoud’s and my careers,

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    our desire for a stable life, and Deen’s future will forever be impacted by these false
    allegations against him.
 25. The government has said that Mahmoud’s speech harms U.S. foreign policy. This
     false statement hangs over his head and ours. It is unimaginable to have to live our
     lives without knowing whether our words will make us a target for the U.S.
     government to harm us.
 26. I don't want Deen to have to grow up with the knowledge that the U.S. government
     views his father's advocacy for his people’s rights as something that requires
     punishment, that is not welcome in his country, or that would subject him to
     hostility. I don't want him to grow up thinking that a part of his identity is somehow
     not worthy of protection or that advocating for his people’s human rights can land
     him in trouble like it did his father.
 27. Mahmoud’s case is also impacting our networks of support. Friends and family
    members are worried about traveling because of their connection with Mahmoud.
    People we are close with, especially noncitizens, have stopped coming to my
    apartment, declined to write letters of support for Mahmoud, or even talk on the
    phone with him because they fear retaliation by the U.S. government due to their
    support of Mahmoud.
 28. Post-partum continues to be difficult. I am getting little to no sleep. I’m supposed
    to go back to work in September but everything in our life is uncertain because of
    Mahmoud’s detention and immigration case. Without Mahmoud’s financial,
    physical, and emotional support, without his presence, and because of his detention,
    it is very hard to plan for any kind of future.
 29. Having Mahmoud present would take so much off my plate. Right now, everything
     falls on me alone because I am doing so much on behalf of Mahmoud that he cannot
     while he is detained. When he is home, I can focus fully on raising Deen, which is
     what I want to do, and I will have a partner with whom to share the heavy lift of
     everyday life with an infant.
 30. The uncertainty is hard. I don’t want to be separated from Mahmoud any longer. I
    want us to be together. I want Deen to grow up with both of his parents in the way
    Mahmoud and I dreamed, planned, hoped, and wanted.
 31. Despite the uncertainty, my main priority is for Mahmoud to return home to us –
     to make our family whole again.



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 Dated: June 4, 2025                      Signed:



                                          NOOR RAMEZ ABDALLA




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